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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

W.R. Grace & Co., et al., Case No. 01-01139 (JKF)
(Jointly Administered)

Debtors. Objection Deadline: August 2, 2006 at 4:00 p.m.

Hearing Date: Hearing will be held if necessary

NOTICE OF FILING OF FEE APPLICATION

To: The Parties on the Service List attached as Exhibit 1

Hilsoft Notifications (the "Applicant"), filed and served its Supplemental Sixth Interim
Application For Compensation For Services Rendered and Reimbursement of Expenses (the
"Fee Application") seeking an interim award of legal fees and reimbursement of expenses
incurred as experts to the PD Committee in the amount of (i) $20,940.42 for services rendered
during the period October 14, 2004, through and including November 30, 2004 (the "Application
Period"); and (ii) $15.94 as reimbursement for the actual and necessary expenses incurred during .
the Application Period.

You are required to file with the United States Bankruptcy Court for the District of
Delaware, 824 Market Street, 3rd Floor, Wilmington, Delaware 19801, an objection to the
attached Fee Application on or before August 2, 2006 at 4:00 p.m.

At the same time, you must serve a copy of the objections or responses, if any, upon the
following: (i) co-counsel for the Debtors, James H.M. Sprayregen, Esquire, Kirkland & Ellis,
200 East Randolph Drive, Chicago, Ilinois 60601 (fax number 312-861-2200), and Laura Davis
Jones, Esquire, Pachulski, Stang, Ziehl, Young, Jones & Weintraub LLC, 919 North Market
Street, 17" Floor, P. O. Box 8705, Wilmington, DE 19899-8705 (Courier 19801) (fax number
302-652-4400); (ii) counsel to the Official Committee of Unsecured Creditors, Lewis Kruger,
Esquire, Stroock & Stroock & Lavan, LLP 180 Maiden Lane, New York, New York 10038-4982
(fax number 212-806-6006), and Michael R. Lastowski, Esquire, Duane, Morris LLP, 1100 N.
Market Street, Suite 1200, Wilmington, Delaware 19801-1246 (fax number 302-657-4901); (ii)
counsel to the Official Committee of Asbestos Property Damage Claimants, Scott L. Baena,
Esquire, Bilzin Sumberg Baena Price & Axelrod LLP, Wachovia Financial Center, 200 South
Biscayne Boulevard, Suite 2500, Miami, Florida 33131 (fax number 305-374-7593), and
Theodore J. Tacconelli, Esquire, Ferry, Joseph & Pearce, P.A., 824 Market Street, Suite 904,
P. O. Box 1351, Wilmington, Delaware 19899 (fax number 302-575-1714); (iv) counsel to the
Official Committee of Asbestos Personal Injury Claimants, Elihu Inselbuch, Esquire and Rita
Tobin, Esquire, Caplin & Drysdale, 375 Park Avenue, 35" Floor, Floor, New York, New York
10022 (fax number 212-644-755), and Marla Rosoff Eskin, Esquire, Campbell & Levine, LLC,
801 N. King St, Suite 300, Wilmington, Delaware 19801 (fax number 302-426-9947); (v)
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counsel to the DIP Lenders, J. Douglas Bacon, Esquire, Latham & Watkins, Sears Tower, Suite
5800, Chicago, Illinois 60606 (fax number 312-993-9767), and Steven M. Yoder, Esquire, The
Bayard Firm, 222 Delaware Avenue, Suite 900, P. O. Box 25130, Wilmington, Delaware 19899
(fax number 302-658-6395); (vi) Warren H. Smith, Warren H. Smith & Associates, P.C.,
Republic Center, 325 N. St. Paul, Suite 1275, Dallas, TX 75201 (fax number 214-744-0231) and
(vii) the Office of the United States Trustee, Attn: David M. Klauder, Esquire, 844 King Street,
Room 2207, Wilmington, DE 19801.

A HEARING ON THE FEE APPLICATION WILL BE HELD ONLY JF OBJECTIONS
OR RESPONSES ARE FILED.

IF YOU FAIL TO RESPOND OR OBJECT IN ACCORDANCE WITH THIS NOTICE,
THE COURT MAY GRANT THE RELIEF REQUESTED IN THE FEE APPLICATION
WITHOUT FURTHER NOTICE OR HEARING.

Dated: July 13, 2006
BILZIN SUMBERG BAENA PRICE &
AXELROD LLP
Counsel of the Official Committee of Asbestos
Property Damage Claimants
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200 South Biscayne Boulevard
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Telephone: (305) 374-7580
Facsimile: (305) 374-7593

By:___/s/ Jay M. Sakalo
Jay M. Sakalo (Admitted Pro Hac Vice

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EXHIBIT t

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